4:05-cr-03118-RGK-DLP        Doc # 67   Filed: 10/10/06   Page 1 of 3 - Page ID # 255




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )          Case No. 4:05CR3118
                    Plaintiff,             )
                                           )
      vs.                                  )          TENTATIVE
                                           )          FINDINGS
RODNEY L. HEROLD,                          )
                                           )
                    Defendant.             )

       I am in receipt of the presentence investigation report in this case. Except for
the defendant’s objections and motion for departure due to overstatement of criminal
history (filing 63) and the government’s motion for departure due to substantial
assistance (filing 62), there are no objections or motions for departure or variance.

      IT IS ORDERED that:

       (1) The undersigned will consult and follow the Guidelines to the extent
permitted and required by United States v. Booker, 125 S. Ct. 738 (2005). In this
regard, the undersigned gives notice that, unless otherwise ordered, he will (a) give
the advisory Guidelines substantial weight; (b) resolve all factual disputes relevant to
sentencing by the greater weight of the evidence and without the aid of a jury; (c)
impose upon the government the burden of proof on all Guideline-enhancements; (d)
impose upon the defendant the burden of proof on all Guideline-mitigators; (e) depart
from the advisory Guidelines, if appropriate, using pre-Booker departure theory; and
(f) in cases where a departure using pre-Booker departure theory is not warranted,
deviate or vary from the Guidelines only when there is a plainly superior, principled
reason which justifies a sentence different than that called for by application of the
advisory Guidelines.

      (2)    Regarding the objections and motions for departure:
4:05-cr-03118-RGK-DLP        Doc # 67    Filed: 10/10/06   Page 2 of 3 - Page ID # 256



      A.     The objection (filing 63 part 1) to the enhancement arising out of
             the death threat made by the codefendant is sustained. There is
             no evidence that the threat was reasonably foreseeable to this
             defendant within the meaning of U.S.S.G. § 1B.3.

      B.     The defendant’s objection (filing 63 part 2) relating to and
             requesting a role adjustment will be resolved at sentencing.

      C.     The defendant’s objection to restitution (filing 63 part 4) and the
             defendant’s departure motion due to overstatement of criminal
             history (filing 63 part 5) are denied. In particular, there is no
             difficulty assessing restitution here and the defendant’s criminal
             history is both accurate as to what actually happened and a
             reasonable predictor of future criminal behavior.

      D.     The government’s motion for departure will be resolved at
             sentencing.

       (3) Except to the extent (if at all) that I have reserved an issue for later
resolution in the preceding paragraph, the parties are herewith notified that my
tentative findings are that the presentence report is correct in all respects.

       (4) If any party wishes to challenge these tentative findings, said party shall,
as soon as possible, but in any event at least five (5) business days before sentencing,
file in the court file and serve upon opposing counsel and the court a motion
challenging these tentative findings, supported by (a) such evidentiary materials as are
required (giving due regard to the requirements of the local rules of practice respecting
the submission of evidentiary materials), (b) a brief as to the law and (c) if an
evidentiary hearing is requested, a statement describing why an evidentiary hearing
is necessary and how long such a hearing would take.


                                          -2-
4:05-cr-03118-RGK-DLP      Doc # 67   Filed: 10/10/06   Page 3 of 3 - Page ID # 257



       (5) Absent submission of the information required by the preceding
paragraph of this order, my tentative findings may become final and the presentence
report may be adopted and relied upon by me without more.

      (6) Unless otherwise ordered, any motion challenging these tentative
findings shall be resolved at sentencing.

      October 10, 2006.                 BY THE COURT:

                                        s/ Richard G. Kopf
                                        United States District Judge




                                        -3-
